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           United States Court of Appeals
                for the Fifth Circuit
                                ___________

                                 No. 22-10831
                                ___________

   In the matter of Highland Capital Management, L.P.

                                                                  Debtor,
    ____________________________

   The Dugaboy Investment Trust,

                                                                Appellant,

                                     versus

   Highland Capital Management, L.P.,

                                                                 Appellee.
                  ______________________________

                 Appeal from the United States District Court
                     for the Northern District of Texas
                          USDC No. 3:21-CV-2268
                            USDC No. 19-34054
                 ______________________________

   ORDER:
         IT IS ORDERED that Appellee’s opposed motion to strike the
   Appellant’s reply brief is DENIED.
         IT IS FURTHER ORDERED that Appellee’s opposed alternative
   motion to strike four specified statements is DENIED.
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                                 No. 22-10831




          It is further ordered that Appellee may file a sur-reply to the
   Appellant’s reply brief.



                                    /s/James E. Graves, Jr.
                                   James E. Graves, Jr.
                                   United States Circuit Judge




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